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                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                 )
                                         )
v.                                       )      No. 4:17-CR-319-JM-01
                                         )
MORGAN STEPHEN POOLE                     )

MOTION TO DISMISS INDICTMENT AGAINST MORGAN STEPHEN POOLE

       Pursuant to Rule 48(a), Federal Rules of Criminal Procedure, the United States of

America, through Cody Hiland, United States Attorney for the Eastern District of

Arkansas, and Michael Gordon, Assistant U.S. Attorney for said district, hereby moves for

leave of Court to dismiss the Indictment against MORGAN STEPHEN POOLE in this case

for the following reasons:

       1. On March 20 2019, pursuant to a plea agreement, the defendant, MORGAN

STEPHEN POOLE, pled guilty in Case Number 4:17-CR-313-JLH-12 to a Superseding

Information charging him with Conspiracy to Distribute a Mixture or Substance

Containing a Detectable Amount of Methamphetamine (50 Grams or More), in violation

of Title 21, United States Code, Section 846.

       2. The plea agreement in Case Number 4:17-CR-313-JLH-12 called for the United

States to dismiss the indictment against the defendant, MORGAN STEPHEN POOLE, in

this case.

       WHEREFORE, for the above reasons, the United States respectfully requests leave

of Court to dismiss the Indictment against MORGAN STEPHEN POOLE in this case.
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                                Respectfully submitted,

                                CODY HILAND
                                United States Attorney

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